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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE, et al.,

                 Plaintiffs,

                               v.                          No. 2:22-cv-00223-Z

U.S. FOOD AND DRUG ADMINISTRATION, et al.,

                 Defendants.



    BRIEF FOR THE STATES OF NEW YORK, CALIFORNIA, COLORADO,
   CONNECTICUT, DELAWARE, HAWAI‘I, ILLINOIS, MAINE, MARYLAND,
    MASSACHUSETTS, MICHIGAN, MINNESOTA, NEVADA, NEW JERSEY,
NEW MEXICO, NORTH CAROLINA, OREGON, PENNSYLVANIA, RHODE ISLAND,
  WASHINGTON, AND WISCONSIN, AND THE DISTRICT OF COLUMBIA AS
   AMICI CURIAE IN SUPPORT OF DEFENDANTS AND IN OPPOSITION TO
         PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


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  (Sept. 30, 2021), https://www.who.int/publications/i/item/WHO-MHP-HPS-EML-
  2021.02.......................................................................................................................................4




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                       INTRODUCTION AND INTERESTS OF AMICI

       In 2000, the U.S. Food and Drug Administration (FDA) approved mifepristone as a single-

dose oral medication used for early-term abortions. More than twenty years later, plaintiffs (several

anti-abortion organizations and physicians) filed this lawsuit challenging the FDA’s initial approval

and several subsequent regulatory actions pertaining to mifepristone. In this motion, plaintiffs seek

a preliminary injunction requiring the FDA to withdraw its approval of mifepristone for medication

abortion.

       Amici States of New York, California, Colorado, Connecticut, Delaware, Hawai‘i, Illinois,

Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico, North

Carolina, Oregon, Pennsylvania, Rhode Island, Washington, and Wisconsin, and the District of

Columbia submit this brief in support of the federal government’s opposition to plaintiffs’ motion.

Each of the amici States has an important interest in protecting the health, safety, and rights of its

residents, including an interest in ensuring safe access to essential reproductive health care. The

continued availability of mifepristone for medication abortions is critical to safeguarding that

interest. Mifepristone is proven to be a safe, reliable, and effective method for early pregnancy

termination and, as part of a regimen taken in combination with the drug misoprostol, is the only

drug approved for medication abortion in the United States. An order requiring the FDA to

withdraw its approval of mifepristone would therefore make medication abortion largely

unavailable, forcing those seeking abortion to either undergo a nonmedication abortion procedure

(referred to herein as “procedural abortion”) or forgo an abortion entirely and drastically reducing

access to abortion overall. This would have devastating consequences for the residents of amici

States. Procedural abortion is not only more invasive than medication abortion, but it is also

generally more costly and difficult to obtain. Indeed, the availability of mifepristone has been
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particularly critical in providing access to abortion in low-income, underserved, and rural

communities where procedural abortion may be unavailable. And because medication abortion is

the most common method used to terminate pregnancy during the first trimester, eliminating

access to this method will result in more abortions taking place later in pregnancy, further

increasing costs and medical risks.

        Amici also have a strong interest in safeguarding their decision to protect their residents’

ability to obtain abortions in the wake of the Supreme Court’s decision in Dobbs v. Jackson

Women’s Health Organization, 142 S. Ct. 2228 (2022). Although the Supreme Court, reversing

longstanding precedent, concluded that the U.S. Constitution does not protect the right to obtain

an abortion, there can be no question that the Court endorsed the States’ authority to promote access

to abortion for their residents, explaining that it was “return[ing] the issue of abortion to the people’s

elected representatives.” Id. at 2243. Annulling the FDA’s approval of mifepristone would, in effect,

eviscerate amici’s sovereign decisions to protect the right to choose to terminate a pregnancy as it

could prevent countless persons in amici States from obtaining an abortion.


                                            ARGUMENT

        MEDICATION ABORTION IS A SAFE AND EFFECTIVE METHOD
        FOR TERMINATING PREGNANCIES.

        The experience of amici States confirms what numerous studies have demonstrated:

medication abortion is safe and effective. Although it is beyond the scope of this amicus brief to

address the specifics of plaintiffs’ allegations regarding the numerous agency actions challenged—

taking place over a period of over twenty years—there can be no doubt that the FDA’s overall

conclusions regarding medication abortion’s safety and efficacy are based on substantial evidence.




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       Currently the only FDA-approved option for medication abortion, mifepristone (the

generic version of Mifeprex®), 1 is authorized as a part of a regimen in combination with the drug

misoprostol to end unwanted pregnancy up through 70 days (i.e. 10 weeks) of pregnancy. 2 Under

the standard regimen for medication abortion, the patient first takes mifepristone in a single dose

on day one, followed by a second drug, misoprostol 24-48 hours later. 3 Since the FDA approved

Mifeprex® to terminate pregnancy in 2000, an estimated 4.9 million women in the U.S. have used

this method to terminate a pregnancy. 4 According to current estimates, medication abortion now

accounts for more than half—or 54%—of all abortions performed in the U.S., underscoring “how

central this method has become to US abortion provision.” 5

       The FDA’s determinations regarding the overall safety and efficacy of medication abortion

are consistent with the overwhelming medical consensus and supported by voluminous evidence

based on years of clinical research and practice. For example, a recent comprehensive survey of


       1
         Amici generally refer to the first medication used in the course of the regimen by its
generic name, mifepristone, and the term “medication abortion” to refer to the two-drug regimen
of mifepristone and misoprostol together. The term “chemical abortion” used by plaintiffs
throughout their complaint and briefs is not an accepted medical term.
       2
         See FDA, Questions and Answers on Mifepristone for Medical Termination of Pregnancy
through Ten Weeks Gestation (last updated Jan. 4, 2023) (internet); National Acads. of Scis., Eng’g
& Med. (NASEM), The Safety and Quality of Abortion Care in the United States 53 (2018)
(internet) [hereinafter NASEM, Safety and Quality of Abortion Care]. Mifepristone is also
commonly used for the management of miscarriages. See American Coll. of Obstetricians &
Gynecologists (ACOG), Improving Access to Mifepristone for Reproductive Health Indications
(Mar. 2021) (internet). (For authorities available on the internet, full URLs appear in the Table of
Authorities. All URLs were last visited on February 9, 2023.)
       3
        See ACOG, Medication Abortion Up to 70 Days of Gestation, 136 Obstetrics &
Gynecology 31, 35 (2020) (internet); NASEM, Safety and Quality of Abortion Care, supra, at 10,
55.
       4
         See FDA, Mifepristone U.S. Post-Marketing Adverse Events Summary through 6/30/2021
(internet).
       5
        Rachel K. Jones et al., Medication Abortion Now Accounts for More than Half of All US
Abortions, Guttmacher Inst. (Feb. 24, 2022) (internet).

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abortion care in the U.S. conducted by the National Academies of Sciences, Engineering, and

Medicine concluded that medication abortion—like procedural abortion—is safe and effective and

that complications after medication abortion are rare, i.e., “occurring in no more than a fraction of

a percent of patients.” 6 The World Health Organization authorizes use of medication abortion as

safe through 12 weeks of pregnancy and has long included the mifepristone/misoprostol regimen

in its Model List of Essential Medicines—i.e., those medicines “that satisfy the priority health care

needs of a population” and “are intended to be available in functioning health systems at all times.”7

Accordingly, as the FDA concluded in 2016, the “safety profile of Mifeprex is well-characterized

and its risks well-understood after more than 15 years of marketing. Serious adverse events are

rare, and the safety profile of Mifeprex has not substantially changed.” 8

       Plaintiffs’ inflated allegations regarding the purported dangers of medication abortion (see,

e.g., Compl. ¶¶ 59-73) do not comport either with amici’s experience or with the clinical evidence,

particularly when viewed, as they must be, in context of the entire record before the agency. See

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 44 (1983);

Carey Salt Co. v. NLRB, 736 F.3d 405, 425 (5th Cir. 2013). The relatively few adverse events

associated with medication abortion are well within an acceptable range for FDA approval. Indeed,

evidence shows that medication abortion is as safe or safer than numerous other types of FDA-



       6
           See NASEM, Safety and Quality of Abortion Care, supra, at 10, 55.
       7
         World Health Org., WHO Model List of Essential Medicines, 22nd List, 2021: Overview
(Sept. 30, 2021) (internet); see World Health Org., Abortion Care Guideline xxix, 16-17, 67-68
(2022) (internet); World Health Org., Model List of Essential Medicines, 22nd List, 2021, at 50
(2021) (internet).
       8
         FDA, Ctr. for Drug Evaluation & Rsch., REMS Memorandum REMS: Modification
(Mar. 29, 2016) (internet); see also U.S. Gov’t Accountability Off. (GAO), Food and Drug
Administration: Information on Mifeprex Labeling Changes and Ongoing Monitoring Efforts
(Mar. 2018) (internet) (describing FDA review process and safety monitoring efforts).

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approved drugs and products, including Viagra (four times safer), penicillin (two times safer), and

even acetaminophen. 9 Requiring the FDA to withdraw or suspend its approval of mifepristone

despite the overwhelming clinical data demonstrating its safety and efficacy undermines the

integrity of the FDA-approval process for other drugs. Providers and patients in amici States rely

on the availability of thousands of FDA-approved drugs to treat or manage a range of medical

conditions experienced by their residents, including asthma, HIV, infertility, heart disease, diabetes,

and more. 10 For each of these drugs, the FDA determined based on significant clinical data—just

as it did with mifepristone—that the benefits of the drug outweighed any known and potential

risks. 11

            Given the widespread use of mifepristone, if plaintiffs’ allegations regarding the magnitude

of risk associated with medication abortion were accurate, those harmful effects would be

impossible to hide at the population level. But amici have seen no such effects—and in fact, the

opposite is true. Plaintiffs’ allegations are simply insufficient to overcome the agency’s considered

determinations regarding the overall safety and efficacy of medication abortion. 12




            9
         See Advancing New Standards in Reprod. Health, Issue Brief: Analysis of Medication
Abortion Risk and the FDA Report “Mifepristone U.S. Post-Marketing Adverse Events Summary
through 12/31/2018” (Apr. 2019) (internet).
            10
         FDA, Fact Sheet: FDA at a Glance (Nov. 2021) (internet) (noting that the FDA has
approved of over 20,000 prescription drug products).
            11
                 FDA, Development & Approval Process (last updated Aug. 8, 2022) (internet).
            12
          See FDA, Questions and Answers on Mifepristone, supra; see also GAO, Food and Drug
Administration: Information on Mifeprex Labeling Changes, supra (nonpartisan report finding that
FDA had “followed its standard review process when it approved the application and revised
labeling reflecting certain changes, including the indication and dosing regimen, for the drug
Mifeprex” and “based its approval on reviews of peer-reviewed published studies, articles, and
other information submitted by Mifeprex’s sponsor.”).

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        MEDICATION ABORTION IS AN INDISPENSABLE COMPONENT OF
        REPRODUCTIVE HEALTH CARE AND HAS HELPED PROMOTE ACCESS
        TO ABORTION IN RURAL AND UNDERSERVED COMMUNITIES.

        In addition to being safe and effective, medication abortion is also an essential component

of reproductive health care. For more than two decades, residents in amici States have relied upon

the numerous benefits provided by medication abortion, including increased flexibility, patient

autonomy, and availability—benefits that have been particularly crucial in promoting access for

individuals living in rural and underserved communities.

        One of medication abortion’s principal benefits is that it promotes access to abortion as

early as possible when it is safest and least expensive. Medication abortion has contributed to a

rise in the proportion of pregnancy terminations taking place at less than six weeks gestation, when

it is safest, and has freed up time for in-clinic appointments for those who need later stage or more

complicated care. 13 In addition to offering benefits to individuals, the associated decreases in cost

and complication rates help lower health care costs and ease burdens on the system overall. This

beneficial trend is expected to continue as the percentage of abortions performed via medication

continues to rise. 14

        Second, medication abortion offers added flexibility for both patients and providers. Unlike

procedural abortion, which is necessarily performed in a clinical setting, medication abortion is

the result of a drug regimen that does not require any special equipment and can safely be provided

in a variety of contexts and practice areas—for example, in a private physician’s office, an ob-gyn

or family practice setting, or even at home with appropriate medical supervision as discussed



        13
         See NASEM, Safety and Quality of Abortion Care, supra, at 5, 28-29; see also Advancing
New Standards in Reprod. Health, The Average Out-of-Pocket Cost for Medication Abortion Is
Increasing, New Study Confirms (Apr. 11, 2022) (internet).
        14
             See NASEM, Safety and Quality of Abortion Care, supra, at 5.

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below. 15 Nationwide, between 2011 and 2014, provision of medication abortion in nonspecialized

clinics and physicians’ offices increased by 26% and 20%, respectively; in several cases, those

facilities were the sole abortion-providing facility in their geographic area. 16 In many States,

medication abortion may also be prescribed by advanced practice clinicians, including physician

assistants, nurse practitioners, and certified nurse midwives, within their training and scope of

practice. 17 The availability of medication abortion within a variety of mainstream medical settings

not only lifts constraints on access but also offers added privacy and security for both patients and

providers—benefits that are particularly critical given persistent and escalating violence at clinics

known to provide abortion. 18

       Moreover, medication abortion may also be safely provided outside of a brick-and-mortar

clinical setting. Since 2011, the FDA has placed mifepristone under a Risk Evaluation and Mitiga-

tion Strategy (REMS), which among other limitations required dispensing of mifepristone in person

in a clinical setting. 19 However, the same restrictions did not apply to misoprostol, and it had long

been standard practice for patients to take the second course of the regimen at home or in another




       15
            See NASEM, Safety and Quality of Abortion Care, supra, at 10.
       16
         See Rachel K. Jones & Jenna Jerman, Abortion Incidence and Service Availability in the
United States, 2014, 49 Persps. on Sexual & Reprod. Health 17, 22 (2017) (internet).
       17
         See NASEM, Safety and Quality of Abortion Care, supra, at 14, 112-114; American Pub.
Health Ass’n, Provision of Abortion Care by Advanced Practice Nurses and Physician Assistants,
Policy 20112 (Nov. 1, 2011) (internet); AP Toolkit, State Abortion Laws and Their Relationship
to Scope of Practice (internet).
       18
           See National Abortion Fed’n, 2021 Violence and Disruption Report (June 24, 2022)
(internet) (reporting steady increase in harassment and violence at abortion clinics over 45-year
period); U.S. Dep’t of Just., Recent Cases on Violence Against Reproductive Health Care Providers
(last updated Oct. 18, 2022) (internet).
       19
           FDA, Questions and Answers on Mifepristone, supra; Kaiser Fam. Found., The
Availability and Use of Medication Abortion (Jan. 4, 2023) (internet).

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setting of their choice, 20 offering patients valuable control over location and timing. More recently,

the FDA modified the REMS to lift the in-person dispensing requirement for mifepristone—first

as a result of stay-at-home orders implemented during the COVID-19 pandemic and now

permanently. 21 This policy revision permitted U.S. clinicians to offer access to medication abortion

entirely remotely by conducting patient intake, examination, prescription, and follow-up via

telephone or videoconference, and allowed patients to obtain the medication through a mail-order

pharmacy. 22 The FDA has since also permitted mifepristone to be dispensed from certified retail

pharmacies with a prescription where otherwise consistent with state law. 23

       The FDA’s regulatory decisions to relax the in-person dispensing restriction were consistent

with the widespread adoption of telemedicine following its successful use during the pandemic.

These decisions were supported by ample research demonstrating that telemedicine is a safe and

effective method for delivering medication abortion 24 and were endorsed by leading medical


       20
         NASEM, Safety and Quality of Abortion Care, supra, at 56; ACOG, Medication Abortion
Up to 70 Days of Gestation, supra.
       21
           See FDA, Questions and Answers on Mifepristone, supra; Letter from Patrizia Cavazzoni,
Dir., Ctr. for Drug Evaluation & Rsch., to Graham Chelius, Soc’y of Fam. Plan., Cal. Acad. of
Fam. Physicians (Dec. 16, 2021) (internet).
       22
           Although plaintiffs assert that federal law prohibits the distribution of medication abortion
drugs by mail (Compl. ¶¶ 115-117), the U.S. Department of Justice’s Office of Legal Counsel
recently issued an opinion concluding that federal law “does not prohibit the mailing, or the delivery
or receipt by mail, of mifepristone or misoprostol where the sender lacks the intent that the recipient
of the drugs will use them unlawfully” and that “the mere mailing of such drugs to a particular
jurisdiction is an insufficient basis for concluding that the sender intends them to be used
unlawfully.” Application of the Comstock Act to the Mailing of Prescription Drugs That Can Be
Used for Abortions, 46 Op. O.L.C. __, pp. 1-2 (Dec. 23, 2022) (internet).
       23
          FDA, Risk Evaluation and Mitigation Strategy (REMS) Single Shared System for
Mifepristone 200 mg (last modified Jan. 2023) (internet); FDA, Questions and Answers on
Mifepristone, supra.
       24
        See NASEM, Safety and Quality of Abortion Care, supra, at 57-58; Erica Chong et al.,
Expansion of a Direct-to-Patient Telemedicine Abortion Service in the United States and
                                                                                 (continued on the next page)


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associations, many of which not only support provision of medication abortion via telemedicine

but also advocate for the REMS designation to be lifted altogether. For example, the American

Academy of Family Physicians has requested that the FDA lift the REMS designation “to conform

to current evidence,” and the American College of Obstetricians and Gynecologists has

characterized the designation as “outdated” and medically unnecessary. 25

       Many amici States have strongly supported provision of medication abortion via

telemedicine in light of its strong safety record and its promise to vastly improve access to reproduc-

tive health care, particularly for those living in low-income communities, communities of color,

and rural and underserved areas. 26 According to 2020 data, 89% of U.S. counties have no abortion

clinic and 38% of women of reproductive age resided in such a county. 27 Further, a study conducted

using 2014 data showed 17% of people who had abortions traveled 50 miles or further to obtain

care and rural patients were eight times as likely as urban patients to travel more than 100 miles




Experience During the COVID-19 Pandemic, 104 Contraception 43, 44 (2021) (internet); Ellen R.
Wiebe et al., Comparing Telemedicine to In-Clinic Medication Abortions Induced with Mifepristone
and Misoprostol, 2 Contraception: X 100023 (2020) (internet); Daniel Grossman et al., Effective-
ness and Acceptability of Medical Abortion Provided Through Telemedicine, 118 Obstetrics &
Gynecology 296 (2011) (internet); Daniel Grossman & Kate Grindlay, Safety of Medical Abortion
Provided Through Telemedicine Compared With In Person, 130 Obstetrics & Gynecology 778
(2017) (internet).
       25
         See Letter from Michael L. Munger, Bd. Chair, Am. Acad. of Fam. Physicians, to Norman
Sharpless, Acting Comm’r, FDA (June 20, 2019) (internet); ACOG, Improving Access to
Mifepristone for Reproductive Health Indications, supra.
       26
           See Letter from Att’ys Gen. to Alex M. Azar II, Sec’y, U.S. Dep’t of Health & Hum.
Servs., and Stephen Hahn, Comm’r, FDA (Mar. 30, 2020) (internet). ACOG, supported by many
amici States, further brought suit in federal court seeking temporary suspension of the REMS
during the pandemic. See ACOG v. FDA, Nos. 20-1784, 20-1824, 20-1970, 2021 WL 538307
(4th Cir. Feb. 12, 2021).
       27
         Rachel K. Jones et al., Abortion Incidence and Service Availability in the United States,
2020, 54 Persps. on Sexual & Reprod. Health 128, 134-35 (2022) (internet).

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for abortion care (36% versus 4%, respectively). 28 The many logistical and cost barriers associated

with obtaining abortion—including childcare needs, the necessity of taking time off from work

and the resulting lost income, lack of health insurance coverage, and the need to arrange and pay

for travel—are experienced most keenly by low-income people and people of color. 29 And those

barriers only mount with increased distance and travel time to obtain care, further compounding

delays, and resulting in more later-gestation abortions, higher costs, increased risks, and adverse

mental health outcomes. 30 For many, abortion may be out of reach altogether. 31

       Medication abortion, coupled with the growing adoption of telemedicine, has been game-

changing, greatly mitigating transportation- and distance-related barriers to access to early

abortion care for those located within amici States. 32 For these reasons, many amici States have




       28
         Liza Fuentes & Jenna Jerman, Distance Traveled for Abortion in the United States and
Reasons for Clinic Choice, 28 J. Women’s Health. 1623, 1627 (2019) [hereinafter Distance
Traveled] (internet).
       29
          See id. at 1623-1624; Sarah Varney, Long Drives, Air Travel, Exhausting Waits: What
Abortion Requires in the South, Kaiser Fam. Found. (Aug. 3, 2021) (internet); Jenna Jerman et al.,
Barriers to Abortion Care and Their Consequences for Patients Traveling for Services: Qualitative
Findings from Two States, 49 Persps. on Sexual & Reprod. Health 95 (2017) (internet).
       30
          See NASEM, Safety and Quality of Abortion Care, supra, at 116; Fuentes & Jerman,
Distance Traveled, supra, at 1623; Jill Barr-Walker, Experiences of Women Who Travel for
Abortion: A Mixed Methods Systematic Review, PLOS ONE, Apr. 2019, at 17 (internet); Rachel
K. Jones & Jenna Jerman, Time to Appointment and Delays in Accessing Care Among U.S. Abortion
Patients, Guttmacher Inst. (Aug. 2016) (internet).
       31
          See Barr-Walker, Experiences of Women Who Travel for Abortion, supra, at 19-21;
Elizabeth A. Pleasants et al., Association Between Distance to an Abortion Facility and Abortion
or Pregnancy Outcome Among a Prospective Cohort of People Seeking Abortion Online, JAMA
Network Open, at 10 (May 13, 2022) (internet).
       32
           Medication abortion via telemedicine cannot eliminate the need to travel to obtain abortion
in all circumstances, particularly for patients located in States in which abortion is prohibited or
heavily restricted who may need to travel outside of their State, sometimes for significant distances,
in order to receive reproductive health care. See generally, Laurie Sobel et al., The Intersection of
State & Federal Policies on Access to Medication Abortion via Telehealth, Kaiser Fam. Found.
(Feb. 7, 2022) (internet).

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already taken targeted steps to support expanded access to medication abortion or are planning to

do so in the near future. For example, in Maine, which has among the highest rates of rural residents

in the U.S., a major health clinic chain has since 2016 made medication abortion available at its

16 health centers via telemedicine in order to provide access to residents who would otherwise have

to travel long distances to urban centers. 33 The city of New York recently announced that it will

offer free medication abortion at four public health clinics. 34 And several amici States, including

Massachusetts, New York, and California, have recently taken affirmative steps to make medication

abortion available at public university campus health centers, with the goal of extending access

broadly to students across their States. 35

        Although much work remains to be done to promote more equitable access to reproductive

health care, in amici’s experience medication abortion has already played a critical role in

minimizing barriers and expanding access, particularly for those who live in rural and underserved

communities.




        33
          See Kanya D’Almeida, Telemedicine Abortion Is Coming to Maine, Rewire News Grp.
(Feb. 29, 2016) (internet).
        34
          See Elizabeth Kim, NYC Will Offer Free Abortion Pills at 4 City-Run Sexual Health
Clinics, Gothamist (Jan. 17, 2023) (internet).
        35
           See Nadine El-Bawab, Offering Abortion Pills on Campus Could Eliminate Boundaries
to Access, Students Say, ABC News (Oct. 15, 2022) (internet); Stephanie Hughes, With Roe v.
Wade Overturned, Colleges Prep to Provide Abortion Medication, Marketplace (Oct. 10, 2022)
(internet); Press Release, N.Y. Off. of the Governor, Governor Hochul Announces Steps to
Strengthen New York State’s Safe Harbor for Abortion Care (Jan. 10, 2023) (internet).

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       ANNULLING THE U.S. FOOD AND DRUG ADMINISTRATION APPROVAL
       OF MIFEPRISTONE WOULD HAVE DEVASTATING CONSEQUENCES.

       The consequences of annulling the FDA’s approval of medication abortion—currently the

most common method of obtaining early abortion—would be nothing short of catastrophic, causing

shock waves nationwide.

       As a threshold matter, without the option of medication abortion, individuals seeking

abortion would need to turn to other methods. Many would seek procedural abortions—which,

although safe, would amount to an unnecessary and invasive procedure for those who would have

preferred a medication abortion. And as discussed above, it would require many to travel, often

long distances, to obtain care they could otherwise have obtained completely or partially through

telemedicine. Others will seek abortion medications through online services and/or overseas

pharmacies and self-manage their abortions outside of a medical setting. 36 Loss of access to one

of the most readily available and reliable methods for pregnancy termination during the first

trimester of pregnancy would also lead to more need for second-trimester abortions—which fewer

facilities perform—with a resulting increase in health risks, costs, delays, and distance necessary

to travel to obtain care. 37 Many who are unable to afford the additional costs associated with




       36
          See Abigail R.A. Aiken et al., Requests for Self-Managed Medication Abortion Provided
Using Online Telemedicine in 30 US States Before and After the Dobbs v. Jackson Women’s Health
Organization Decision, 328 JAMA 1768, 1768-70 (2022); Abigail R.A. Aiken et al., Safety and
Effectiveness of Self-Managed Medication Abortion Provided Using Online Telemedicine in the
United States: A Population Based Study, 10 The Lancet Reg’l Health - Americas, at 4 (2022)
(internet) (noting that 1% of patients who self-managed their own abortion with pills obtained
online experienced adverse health outcomes); Daniel Grossman & Nisha Verma, Self-Managed
Abortion in the US, 328 JAMA 1693, 1693-94 (2022).
       37
            See Fuentes & Jerman, Distance Traveled, supra, at 3.

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abortion travel, and with the likely need for an abortion at a later gestational age, will be denied

access to abortion altogether and be forced to carry unwanted pregnancies. 38

        Denial of abortion is in turn associated with numerous harms, including poor birthing and

infant health outcomes, higher rates of poverty, and lower educational attainment for both parents

and children. 39 And because carrying a pregnancy to term is 14 times more risky than early

abortion, 40 foreclosing access to medication abortion would likely lead to a steep rise in birth-related

mortality rates. 41 Evidence shows that States with restrictive abortion laws have higher morbidity

and mortality rates. 42 And estimates suggest that should a total abortion ban go into effect

nationwide, those rates would rise by 21% overall purely due to the increased risks associated with




        38
          See Fuentes & Jerman, Distance Traveled, supra, at 3; Kirsten M. J. Thompson et al.,
Association of Travel Distance to Nearest Abortion Facility with Rates of Abortion, JAMA Network
Open, at 6-8 (July 6, 2021) (internet); Kristina Kimport, Abortion After Dobbs: Defendants, Denials,
and Delays, 8 Sci. Advances, at 1-2 (2022) (internet) [hereinafter Abortion After Dobbs].
        39
          See Diana G. Foster, The Turnaway Study: Ten Years, a Thousand Women, and the
Consequences of Having—or Being Denied—an Abortion (2021); Diana G. Foster et al., Socioeco-
nomic Outcomes of Women Who Receive and Women Who Are Denied Wanted Abortions in the
United States, 108 Am. J. Pub. Health 407, 411-13 (2018) (internet); Heidi D. Nelson et al.,
Associations of Unintended Pregnancy with Maternal and Infant Health Outcomes: A Systematic
Review and Meta-Analysis, 328 JAMA 1714, 1714-29 (2022).
        40
           Elizabeth G. Raymond & David A. Grimes, The Comparative Safety of Legal Induced
Abortion and Childbirth in the United States, 119 Obstetrics & Gynecology 215, 216-18 (2012)
(internet).
        41
            See Amanda Jean Stevenson et al., The Maternal Mortality Consequences of Losing
Abortion Access (June 29, 2022) (unpublished manuscript) (internet); Amanda Jean Stevenson,
The Pregnancy-Related Mortality Impact of a Total Abortion Ban in the United States: A Research
Note on Increased Deaths Due to Remaining Pregnant, 58 Demography 2019, 2019-28 (2021)
(internet).
        42
          See 2 Ibis Reprod. Health & Ctr. for Reprod. Rts., Evaluating Priorities: Measuring
Women’s and Children’s Health and Well-Being against Abortion Restrictions in the States 16-18
(2017) (internet); Guttmacher Inst., Induced Abortion Worldwide (Mar. 2018) (internet).

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bearing a child, with Black women experiencing the highest estimated increase—33%. 43

Accordingly, impeding access to medication abortion, the method currently accounting for the

majority of all abortions, would undoubtedly lead to an unprecedented spike in mortality, worsening

a crisis already disproportionately faced by Black women. 44

         The drastic reduction in access to abortion care across large swaths of the U.S. since the

Supreme Court’s decision in Dobbs v. Jackson Women’s Health Organization offers a stark preview

of the devastating consequences—in amici States and nationwide—should access to medication

abortion be eliminated. Abortion is currently completely unavailable in the 13 States where bans

or near-total restrictions are in effect, and access is extremely limited in several more. 45 Approxi-

mately 22 million women of childbearing age, representing almost one third of the total population

of women ages 15-49, now live in States where abortion is currently entirely unavailable or severely

restricted. 46 At least 62 clinics have been shuttered since the end of June 2022, and travel time to

obtain abortion has accordingly increased significantly across the U.S. 47 These impacts are expected




         43
              See Stevenson et al., The Maternal Mortality Consequences of Losing Abortion Access,
supra.
         44
         See Elyssa Spitzer et al., Abortion Bans Will Result in More Women Dying, Ctr. for Am.
Progress (Nov. 2, 2022) (internet); Nelson et al., Associations of Unintended Pregnancy with
Maternal and Infant Health Outcomes, supra, at 14-29.
         45
           Society of Fam. Plan., #WeCount Report 2 (2022) (internet) (“Since the Dobbs decision,
in states with bans or severe restrictions, there were 7,870 fewer abortions in July and 8,040 fewer
in August, for a cumulative total of 15,910 fewer people who had abortions in those states.”).
Numerous state bans or restrictions are subject to pending litigation. See Center for Reprod. Rts.,
After Roe Fell: Abortion Laws by State (internet).
         46
         See Marielle Kirstein et al., 100 Days Post-Roe: At Least 66 Clinics across 15 US States
Have Stopped Offering Abortion Care, Guttmacher Inst. (Oct. 6, 2022) (internet) [hereinafter 100
Days Post-Roe].
         47
          See id.; Caitlin Myers et al., Abortion Access Dashboard (internet); Benjamin Rader et
al., Estimated Travel Time and Spatial Access to Abortion Facilities in the US Before and After
the Dobbs v Jackson Women’s Health Decision, 328 JAMA 2041, 2043-45 (2022).

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to worsen as the many new legal risks created by Dobbs, disruptions in residency training, and an

anticipated wave of additional state-level restrictions further depress the number of providers

nationwide. 48

        In those States where abortion is banned, the impacts on birth-related morbidity and

mortality from being denied abortion are no longer hypothetical. 49 The resulting delays and denials

of care have already led to dire health outcomes for women, including being forced to forgo cancer

treatment, developing sepsis, being left bleeding for days after incomplete miscarriage, enduring

risk of rupture due to ectopic pregnancy, and being forced to continue carrying a fetus that was

nonviable. 50 The more access to abortions is denied, the more such needless and heartbreaking

outcomes can be expected to increase, with the brunt of the harms falling on communities of

color. 51

        Nor are these harms limited to States where abortion bans or severe restrictions are currently

in place. States where abortion remains legal and available, including many amici States, have

already experienced a drastic rise in demand at clinics as patients from States where abortion is




        48
          See Jan Hoffman, OB-GYN Residency Programs Face Tough Choice on Abortion
Training, N.Y. Times (Oct. 27, 2022) (internet); Julia Strasser et al., Penalizing Abortion Providers
Will Have Ripple Effects across Pregnancy Care, Health Affs. (May 3, 2022) (internet) [hereinafter
Ripple Effects]; Kimport, Abortion After Dobbs, supra, at 1-2.
        49
          See Anjali Nambiar et al., Maternal Morbidity and Fetal Outcomes among Pregnant
Women at 22 Weeks’ Gestation or Less with Complications in 2 Texas Hospitals after Legislation
on Abortion, 227 Am. J. Obstetrics & Gynecology 648 (2022) (internet); Eugene Declercq et al.,
The U.S. Maternal Health Divide: The Limited Maternal Health Services and Worse Outcomes of
States Proposing New Abortion Restrictions, Commonwealth Fund (Dec. 14, 2022) (internet).
        50
          See Jessica Valenti, I Write About Post-Roe America Every Day. It’s Worse than You
Think, N.Y. Times (Nov. 5, 2022) (internet); Pl.’s Mot. for TRO and Prelim. Inj., Preterm Cleveland
v. Yost, No. A2203203 (Ohio C.P. Hamilton County Sept. 2, 2022) (internet).
        51
         See Samantha Artiga et al., What Are the Implications of the Overturning of Roe v. Wade
for Racial Disparities?, Kaiser Fam. Found. (July 15, 2022) (internet).

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banned flood into their States to receive necessary care. 52 According to the Guttmacher Institute,

the resulting “dramatic increases in caseloads mean clinic capacity and staff are stretched to their

limits, resulting in longer wait times for appointments even for residents of states where abortion

remains legal.” 53 For example, at one Illinois clinic, patients from States other than Missouri and

Illinois rose to 40% of cases, compared to 5% before Dobbs. 54 In California, since Dobbs, demand

has quadrupled at Planned Parenthood Mar Monte clinics, which serve more than half of the

counties in California. 55 Likewise, the 19 clinics affiliated with Planned Parenthood of the Pacific

Southwest, located in San Diego, Riverside, and Imperial Counties saw a 513% increase in demand

following Dobbs, increasing wait times for critical reproductive health care services. 56 At these

clinics, patients from Arizona make up the highest demographic of out-of-state patients seeking

abortion care, increasing by 847% when compared to the two weeks before the Dobbs decision. 57

Similarly, Planned Parenthood clinics in Orange and San Bernardino Counties reported a 900%




       52
          See Margot Sanger-Katz et al., Interstate Abortion Travel Is Already Straining Parts of
the System, N.Y. Times (July 23, 2022) (internet); Angie Leventis Lourgos, Abortions in Illinois
for Out of State Patients Have Skyrocketed, Chi. Trib. (Aug. 2, 2022) (internet) (reporting 700%
increase in the number of out-of-state patients served in Illinois); Matt Bloom & Bente Berkland,
Wait Times at Colorado Abortion Clinics Hit 2 Weeks as Out-of-State Patients Strain System,
KSUT (July 28, 2022) (internet) (reporting 100% increase in wait times from before Dobbs was
decided).
       53
            Kirstein et al., 100 Days Post-Roe, supra.
       54
         Oriana Gonzalez & Nicole Cobler, Influx of Out-of-State Patients Causes Abortion Delays,
Axios (Sept. 12, 2022) (internet).
       55
          Marisa Kendall, Demand Has Quadrupled at Some California Abortion Clinics since
Roe Fell, Mercury News (last updated Jan. 9, 2023) (internet).
       56
          Cindy Carcamo, A California Desert Town Has Long Been an Abortion Refuge for
Arizona and Mexico. Now It’s Overwhelmed, L.A. Times (July 20, 2022) (internet); Karma
Dickerson, More Out-of-State Patients Begin Arriving in California for Reproductive Health
Services, FOX40 (Sept. 20, 2022) (internet).
       57
            Carcamo, A California Desert Town, supra.

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increase in out-of-state patients seeking abortions following Dobbs. 58 Should access to medication

abortion be limited or foreclosed, abortion providers in amici States would struggle to meet the

additional spike in demand for procedural abortion, compounding delays and placing an untenable

strain on an already overwhelmed system.

       Finally, these harmful outcomes would not be experienced only by those seeking abortion

but would cause ripple effects across the entire health care system. In amici States, many of the

same facilities providing abortion also offer other critical health care services, such as pre- and

post-natal care, contraceptive care, cancer screening, and other critical forms of preventative health

care. When increased demand for abortion care produces delays in accessing other forms of care

at those facilities, the result will inevitably be higher rates of unintended pregnancy and sexually

transmitted infections, including human papilloma virus and HIV/AIDS, barriers to early detection

and treatment for breast, ovarian, and testicular cancers, and worsened health outcomes for patients’

overall sexual and reproductive health and beyond. 59 Those harms will disproportionately impact

groups already underserved by the health care system, including women of color, low-income

women, people with disabilities, and LGBTQ individuals. 60 And in addition to jeopardizing the

health of residents and deepening health care disparities, such outcomes would impose substantial

costs on amici States and local governments.



       58
          ABC7 Eyewitness News, Planned Parenthood Centers in SoCal Report Dramatic
Increase in Abortion Patients from Out of State (July 6, 2022) (internet).
       59
            See Strasser et al., Ripple Effects, supra; Kirstein et al., 100 Days Post-Roe, supra.
       60
           See Strasser, Ripple Effects, supra; Theresa Chalhoub & Kelly Rimary, The Health Care
System and Racial Disparities in Maternal Mortality, Ctr. for Am. Progress (May 10, 2018)
(internet); Christine Dehlendorf et al., Disparities in Family Planning, 3 Am. J. Obstetrics &
Gynecology 202, 214-20 (2010); Lindsey Dawson et al., LGBT+ People’s Health and Experiences
Accessing Care, Kaiser Fam. Found. (July 22, 2021) (internet); Kimport, Abortion After Dobbs,
supra, at 1-2.

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         Against this stark backdrop, annulling—or even merely limiting—any of the FDA’s

actions relating to medication abortion would result in an even more drastic reduction in abortion

access across the entire nation, worsening already dire outcomes, deepening entrenched disparities

in access to health care, and placing a potentially unbearable strain on the health care system as a

whole.




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                                          CONCLUSION

         Plaintiffs’ motion for a preliminary injunction should be denied.

Dated:      New York, New York
            February 13, 2023

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                                     Certificate of Service

On February 13, 2023, I filed the foregoing document with the clerk of court for the U.S. District

Court, Northern District of Texas. I hereby certify that I have served the document on all counsel

and/or pro se parties of record by a manner authorized by Federal Rules of Civil Procedure

5(b)(2).


                                                               /s/ Galen Leigh Sherwin        .
